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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                         Criminal No. 18-cr-251 (DWF/KMM)

UNITED STATES OF AMERICA,

                      Plaintiff,

         v.                                NOTICE OF APPEARANCE

CHASE MACAULEY ALEXANDER,

                      Defendant.


         Please add the following Assistant United States Attorney to the above-captioned

case:

         Add AUSA

         Laura M. Provinzino

Dated: April 15, 2019                           Respectfully submitted,

                                                ERICA H. MacDONALD
                                                United States Attorney


                                                s/ Laura M. Provinzino
                                                BY: LAURA M. PROVINZINO
                                                Assistant U.S. Attorney
                                                Attorney ID No. 0329691
